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&lt;div&gt;22CA0705 Peo v Kondratishin 10-03-2024 &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;COLORADO COURT OF APPEALS &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Court of Appeals No. 22CA0705 &lt;/div&gt;
&lt;div&gt;Adams County District Court No. 19CR5043 &lt;/div&gt;
&lt;div&gt;Honorable &lt;span&gt;Jeffrey Smith, Judge&lt;/span&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;The People of the State of Colorado, &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Plaintiff-Appellee, &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;v. &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Sergey Victor Kondratishin, &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Defendant-Appellant. &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;JUDGMENT AFFIRMED&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Division I &lt;/div&gt;
&lt;div&gt;Opinion by JUDGE &lt;span&gt;J. JONES&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Lipinsky&lt;span&gt; and Sullivan, JJ., concur &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;NOT PUBLISHED PURSUANT TO C.A.R. 35(e) &lt;/div&gt;
&lt;div&gt;Announced October 3, 2024 &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Philip J. Weiser, Attorney General, Cata A. Cuneo, Assistant Attorney General &lt;/div&gt;
&lt;div&gt;Fellow, Denver, Colorado, for Plaintiff&lt;span&gt;-Appellee &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Megan A. Ring, Colorado State Public Defender, &lt;span&gt;Kelly A. Corcoran&lt;/span&gt;, Deputy &lt;/div&gt;
&lt;div&gt;State Public Defender, Denver, Colorado, for Defendant-Appellant &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
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&lt;div&gt;1 &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 1&lt;span&gt; &lt;/span&gt;&lt;span&gt;Defendant, Sergey Victor Kondratishin, appeals the judgment&lt;span&gt;&lt;/span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;of conviction entered on a jury verdict finding him guilty &lt;span&gt;&lt;/span&gt;of driving &lt;/div&gt;
&lt;div&gt;while ability impaired with three or more prior similar conviction&lt;span&gt;&lt;/span&gt;s, a &lt;/div&gt;
&lt;div&gt;class 4 felony.  &lt;span&gt;See&lt;/span&gt; Â§ 42-4-1301(1)(b), C.R.S. 2024.  We aff&lt;span&gt;&lt;/span&gt;irm. &lt;/div&gt;
&lt;div&gt;I.&lt;span&gt; &lt;span&gt;Background &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 2&lt;span&gt; &lt;/span&gt;&lt;span&gt;A police officer responded to a report of a suspicious vehicle.  &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;When she arrived, she saw a black BMW with a single occupant &lt;span&gt;â&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Kondratishin &lt;span&gt;in&lt;/span&gt; &lt;span&gt;the driverâs seat&lt;/span&gt;.  As the officer got out of her pat&lt;span&gt;&lt;/span&gt;rol &lt;/div&gt;
&lt;div&gt;car, Kondratishin got out of the BMW, on the driverâs si&lt;span&gt;&lt;/span&gt;de.  The &lt;/div&gt;
&lt;div&gt;BMW was parked on the street near the house in which he lived &lt;/div&gt;
&lt;div&gt;with his parents.  Kondratishin leaned against the car.  The officer &lt;/div&gt;
&lt;div&gt;observed that he had bloodshot, watery eyes; slurred speech; an&lt;span&gt;&lt;/span&gt;d &lt;/div&gt;
&lt;div&gt;smelled strongly of alcohol.  Looking inside the car, the officer saw a &lt;/div&gt;
&lt;div&gt;six-pack containing four empty beer bottles on the front passenge&lt;span&gt;&lt;/span&gt;r &lt;/div&gt;
&lt;div&gt;side floorboard and a malt liquor bottle in the center console, next &lt;/div&gt;
&lt;div&gt;to the car keys.  Based on these observations, what Kondratishin &lt;/div&gt;
&lt;div&gt;told the officer (discussed in more detail below), and &lt;span&gt;&lt;/span&gt;what the &lt;/div&gt;
&lt;div&gt;neighbor who had called police had reported, the officer asked &lt;/div&gt;
&lt;div&gt;Kondratishin to perform voluntary roadside maneuvers.  He &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
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&lt;div&gt;&lt;div&gt;
&lt;div&gt;2 &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;refused.  He then equivocated, saying he would and then saying &lt;/div&gt;
&lt;div&gt;again that &lt;span&gt;he wouldnât.  At that point, &lt;/span&gt;the officer arrested him. &lt;/div&gt;
&lt;div&gt;Â¶ 3&lt;span&gt; &lt;/span&gt;&lt;span&gt;The People charged Kondratishin with one count of driving &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;under the influence with three or more prior similar convictions.  &lt;/div&gt;
&lt;div&gt;See&lt;span&gt; Â§ 42-4-1301(1)(a).  A jury acquitted him of that charge b&lt;span&gt;&lt;/span&gt;ut &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;found him guilty of the analogous driving while ability impaired &lt;/div&gt;
&lt;div&gt;offense. &lt;/div&gt;
&lt;div&gt;II.&lt;span&gt; &lt;span&gt;Discussion &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 4&lt;span&gt; &lt;/span&gt;&lt;span&gt;Kondratishin contends on appeal that (1) insufficient evidence &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;supports the conviction; (2) the district court judge violated his &lt;span&gt;&lt;/span&gt;duty &lt;/div&gt;
&lt;div&gt;of impartiality; (3) the court made various errors in admitting &lt;/div&gt;
&lt;div&gt;evidence introduced by the prosecution; and (4) even if&lt;span&gt;&lt;/span&gt; none of &lt;/div&gt;
&lt;div&gt;these claimed errors require reversal independently, they do when &lt;/div&gt;
&lt;div&gt;considered cumulatively.  We address and reject these contention&lt;span&gt;&lt;/span&gt;s &lt;/div&gt;
&lt;div&gt;in turn. &lt;/div&gt;
&lt;div&gt;A.&lt;span&gt; &lt;span&gt;Sufficiency of the Evidence &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 5&lt;span&gt; &lt;/span&gt;&lt;span&gt;Kondratishin argues that the only evidence that he drank &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;alcoholic beverages &lt;span&gt;before&lt;/span&gt; he drove his car was his statement to t&lt;span&gt;&lt;/span&gt;he &lt;/div&gt;
&lt;div&gt;police officer on the scene, which wasnât trustworthy &lt;span&gt;&lt;/span&gt;enough for the &lt;/div&gt;
&lt;div&gt;jury to credit.  We donât agree.&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
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&lt;div&gt;&lt;div&gt;
&lt;div&gt;3 &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;1.&lt;span&gt; &lt;span&gt;Additional Background &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 6&lt;span&gt; &lt;/span&gt;&lt;span&gt;A roommate of the neighbor who had called the police testified &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;that, when he returned home from work at about 6:30 p.m., a black &lt;/div&gt;
&lt;div&gt;BMW was parked on the street in the space in which &lt;span&gt;&lt;/span&gt;he usually &lt;/div&gt;
&lt;div&gt;parked.  A few minutes later, the roommates went outside to chec&lt;span&gt;&lt;/span&gt;k &lt;/div&gt;
&lt;div&gt;on the car&lt;span&gt;.  T&lt;/span&gt;he driver started the car, drove it a little way down the &lt;/div&gt;
&lt;div&gt;street, and reparked &lt;span&gt;it&lt;/span&gt;.  Thinking this was suspicious, one of the &lt;/div&gt;
&lt;div&gt;roommates called the police. &lt;/div&gt;
&lt;div&gt;Â¶ 7&lt;span&gt; &lt;/span&gt;&lt;span&gt;Officer Priscilla Duke arrived shortly after receiving a dispatch &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;call at 7:22 p.m.  After Kondratishin got out of the BMW, Officer &lt;/div&gt;
&lt;div&gt;Duke saw that his eyes were glassy, bloodshot, and wat&lt;span&gt;&lt;/span&gt;ery.  &lt;/div&gt;
&lt;div&gt;According to Officer Duke, h&lt;span&gt;e smelled âextremely stron&lt;/span&gt;&lt;span&gt;g&lt;/span&gt;&lt;span&gt;[ly]â of &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;alcohol. &lt;/div&gt;
&lt;div&gt;Â¶ 8&lt;span&gt; &lt;/span&gt;&lt;span&gt;Officer Duke told Kondratishin she was there responding to a &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;report âabout a vehicle b&lt;span&gt;eing in the area.&lt;/span&gt;&lt;span&gt;â&lt;span&gt;  &lt;span&gt;He responded that he &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;had a bad day of work, and, after he parked, he was talking to &lt;/div&gt;
&lt;div&gt;someone on his phone when the neighbors came home.  He di&lt;span&gt;&lt;/span&gt;dnât &lt;/div&gt;
&lt;div&gt;want to be rude (by parking in the space &lt;span&gt;in front of the neighborsâ &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;house), so he drove his car down the street and reparked it in f&lt;span&gt;&lt;/span&gt;ront &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
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&lt;div&gt;&lt;div&gt;
&lt;div&gt;4 &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;of his house&lt;span&gt;.  &lt;/span&gt;(At this point, another officer arrived at the scene.) &lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Officer Duke then asked Kondratishin whether he had had anything &lt;/div&gt;
&lt;div&gt;to drink.  He said he drank five beers.  Kondratishinâs arg&lt;span&gt;&lt;/span&gt;ument on &lt;/div&gt;
&lt;div&gt;appeal focuses on the following testimony by Officer Duke: &lt;/div&gt;
&lt;div&gt;I asked him when he had those beers and he &lt;/div&gt;
&lt;div&gt;told me that he returned home.  He lives with &lt;/div&gt;
&lt;div&gt;his parents and his parents donât like him &lt;/div&gt;
&lt;div&gt;drinking at home.  They were not home.  He &lt;/div&gt;
&lt;div&gt;went to his room and drank five beers.  When &lt;/div&gt;
&lt;div&gt;he came out of his room, his parents were &lt;/div&gt;
&lt;div&gt;home. &lt;/div&gt;
&lt;div&gt;At that point, he went back and got the six-&lt;/div&gt;
&lt;div&gt;pack and took it to his vehicle.  At that point, &lt;/div&gt;
&lt;div&gt;he stated that the residence he was parked in &lt;/div&gt;
&lt;div&gt;front of &lt;span&gt;â&lt;/span&gt; &lt;span&gt;the parties came home and he didnât &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;want to be rude so he moved the vehicle down &lt;/div&gt;
&lt;div&gt;the street. &lt;/div&gt;
&lt;div&gt;Â¶ 9&lt;span&gt; &lt;span&gt;Kondratishin told Officer Duke he wasnât drinking in his &lt;span&gt;&lt;/span&gt;car.  &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;He also told her he had âfour DUIs in the past.â  Officer Duke then &lt;/div&gt;
&lt;div&gt;looked into the car and saw the six-pack container of beer &lt;/div&gt;
&lt;div&gt;containing four empty bottles, one unopened bottle, and an em&lt;span&gt;&lt;/span&gt;pty &lt;/div&gt;
&lt;div&gt;spot.  She also saw an empty malt liquor bottle between the center &lt;/div&gt;
&lt;div&gt;console and the passenger seat.  The car keys were next to t&lt;span&gt;&lt;/span&gt;hat &lt;/div&gt;
&lt;div&gt;bottle. &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
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&lt;div&gt;&lt;div&gt;
&lt;div&gt;5 &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 10&lt;span&gt; &lt;/span&gt;&lt;span&gt;Officer Duke then asked Kondratishin to perform voluntary &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;roadside maneuvers.  He asked âwhy he would need to take any &lt;/div&gt;
&lt;div&gt;tests because he did not drive.â  (Officer Duke testified t&lt;span&gt;&lt;/span&gt;hat &lt;/div&gt;
&lt;div&gt;Kondratishin had just told her he did drive.)  After Officer D&lt;span&gt;&lt;/span&gt;uke &lt;/div&gt;
&lt;div&gt;again told Kondratishin he didnât have to perform the man&lt;span&gt;euvers, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;he said again that he âwasnât drinking in the car and did not driv&lt;span&gt;&lt;/span&gt;e.â  &lt;/div&gt;
&lt;div&gt;He became argumentative.  Officer Duke told him to turn a&lt;span&gt;&lt;/span&gt;round &lt;/div&gt;
&lt;div&gt;(she was going to arrest him), and as he did so, he said he wo&lt;span&gt;&lt;/span&gt;uld &lt;/div&gt;
&lt;div&gt;perform the maneuvers.  He then turned back toward the &lt;span&gt;&lt;/span&gt;officer, &lt;/div&gt;
&lt;div&gt;started arguing with her again, and âasked why he had t&lt;span&gt;&lt;/span&gt;o do the &lt;/div&gt;
&lt;div&gt;test if he wasnât driving.â  Officer Duke took that as a refusal t&lt;span&gt;&lt;/span&gt;o &lt;/div&gt;
&lt;div&gt;perform the maneuvers and arrested him. &lt;/div&gt;
&lt;div&gt;Â¶ 11&lt;span&gt; &lt;/span&gt;&lt;span&gt;After Officer Duke put Kondratishin in the back of her patrol &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;car, she told him about the express&lt;span&gt;ed&lt;/span&gt; consent law and aske&lt;span&gt;&lt;/span&gt;d him &lt;/div&gt;
&lt;div&gt;whether he wanted to take a breath test or a blood te&lt;span&gt;&lt;/span&gt;st.  He again &lt;/div&gt;
&lt;div&gt;said he didnât see why he needed to take a test and said that &lt;span&gt;once &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;more after Officer Duke explained the consequences to &lt;span&gt;&lt;/span&gt;him.  Officer &lt;/div&gt;
&lt;div&gt;Duke deemed this a second refusal and took Kondratishin to a &lt;/div&gt;
&lt;div&gt;police station. &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
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&lt;img alt="" src="https://icbg.s3.amazonaws.com/media/MM9/Zgu/MM9ZguMTW/pwsU7Hj38Z0aT83wGmUtrM/47S7PRRijEBs%3D?AWSAccessKeyId=ASIA5PHC3MTPQRQJUKL6&amp;amp;Expires=1728907413&amp;amp;Signature=nJkjnEhF21cCsU56UYcFRYVYm%2Fg%3D&amp;amp;x-amz-security-token=IQoJb3JpZ2luX2VjEHsaCXVzLWVhc3QtMSJHMEUCIQCti7uZT60aePaEk%2BA994fyLUXVZJjdkg5tbBSnkAOw%2FAIgP2woXG%2B1yhg1GZwQtHbLWVZV50zrRjIstSnRLMiEv8AqugUI1P%2F%2F%2F%2F%2F%2F%2F%2F%2F%2FARAAGgw5MjYwNDEyMDM5MzUiDHkrQ2aaT9MCtEA22yqOBe6z723W9YsCUo7ZOPKnJ95eBDOoUMmQxkU4vskpu%2F65Fh14Hj4sOyBb79p8qJHYggfwBe7yhevtXLopYJK7jKUbcMdvfdGsJ9owchYLOEqDrzgBpWqvb%2BggVVlsUh01XfpVVJ4FWjfA4p6nSZiPlJEAR%2FegFFl9eE7bGnJRJtpDy6Z6pnG216FvGiQZ8ksab1gn0djNTs%2Bl0GeesFoCfpPjWWmLxx6KWh%2FDccBmpbifdyw45%2B06VKuEp8RSqBMJz2sMnMaRy5PBwXGESkWFKn2%2FGXw%2FRGQw4Tl4ENDWR%2B8Q0XZ9WxkKzpxE%2FuyEe%2BShoIfrO5cD%2B%2FerqGw1TrkhVAzFdtKIx9s2ZJgDxvyF4d0c6oirYKVPQyVW6NUBCb%2BwNoJ20afkLuz9apb%2B1ISlPnbMCHn1sNs6LWoOz0LTt8Q2KVaNxD03CdSszAs%2BK%2BiLWuk8WMs0LnMlC4opYQSoS3VYyyxBpFOdOUUwFPQdb4Fwtu8SLFHr9M66o2mBiJF8%2FZ7IFphjvfKj%2F7e%2BehBQZ7MjlSZo1xn1%2F9ikNIlbi1rlK%2FzYvqjmu8MsKrIIZ8ZbcjTIht1VHpdOhrRLQDRY%2FlAK7qL7ohcBrTdmdbyGbBVp3n0qSQYltae36EiKh3NQ3BT66%2FzFeRDZT5UyWmyBkrigL2Bk1VqVHiVxkYUg28lIsNuvNT%2Fvy19h6LuFhPY7C0qk%2BwoRBEi0ws4lzW3gMaTEOSVwjPenIuyCq%2B7GQgyDOAKZAjwfOrRpvto9PvlTwVFsznMHweG%2FmY%2FKf%2BFlH8CiPzy3Xetb8FcxSS5ifZIDt0wbo%2FeBMcUTtpegZnk6%2BXG83ZXl1mBObP%2BQp1ao8ujhkdUG%2BNQOoXfSp6aAZjDv57O4BjqxAVrIK9KnmaEN088nCtaidxOmNL%2BeN0fKTVEb1OQlhkMywEf%2FWkEmzqlRU1hPKVJRq6aOtet0ZfbpLHsYJp3SxlCadPaCl1%2B7%2B%2Bm3Ma8nL3vPBxGnaLYy0AbKLAM6qnMXni8QOZs3n4ZttLEnJiELM3Fj1TLxjygfB3MAD1XTcG4pFftsi0ucfXO8jA%2FUTtZtJZnKSOSZBhELxPyxfvcnNR8FM4vpPwmUywEHuyuZg4tj%2Fg%3D%3D"&gt;&lt;div&gt;
&lt;div&gt;6 &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 12&lt;span&gt; &lt;span&gt;At trial, following Officer Dukeâs testimony and the close &lt;span&gt;&lt;/span&gt;of the &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;prosecutionâs case, defense counsel moved for a judgment of&lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;acquittal, arguing that âthe prosecution hasnât shown that&lt;span&gt;&lt;/span&gt; there &lt;/div&gt;
&lt;div&gt;was [sic] reasonable grounds to make contact with [Kondratishin] &lt;span&gt;or &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;ask him for a test or that he was in actual physical control o&lt;span&gt;&lt;/span&gt;r &lt;/div&gt;
&lt;div&gt;driving the vehicle.â&lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;1&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt;  &lt;span&gt;The prosecutor responded, as now relevant, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;In terms of driving, thereâs an admission from &lt;/div&gt;
&lt;div&gt;the defendant.  [The neighbor] saw the black &lt;/div&gt;
&lt;div&gt;BMW drive down the street.  It was the same &lt;/div&gt;
&lt;div&gt;BMW that Officer Duke made contact &lt;/div&gt;
&lt;div&gt;with. . . .&lt;span&gt;  &lt;/span&gt;Upon contact, [the officer] noted an &lt;/div&gt;
&lt;div&gt;extremely strong odor of an alcoholic beverage, &lt;/div&gt;
&lt;div&gt;slurred speech, and unsteady balance in terms &lt;/div&gt;
&lt;div&gt;of leaning against the car and bloodshot &lt;/div&gt;
&lt;div&gt;watery eyes.  The defendant also stated that he &lt;/div&gt;
&lt;div&gt;drank five beers and he took those five beers &lt;/div&gt;
&lt;div&gt;out of his house and into his car where he saw &lt;/div&gt;
&lt;div&gt;the neighbor looking at him so he drove down &lt;/div&gt;
&lt;div&gt;the street. &lt;/div&gt;
&lt;div&gt;The court denied defense counselâs motion, reasoning &lt;span&gt;&lt;/span&gt;that although &lt;/div&gt;
&lt;div&gt;the chronology âwasnât terribly clear,â the jury could reason&lt;span&gt;&lt;/span&gt;ably &lt;/div&gt;
&lt;div&gt;infer based on the evidence (which the court summarized) that&lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Kondratishin reparked his car after drinking in his house.&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;1&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt; D&lt;span&gt;efense counsel didnât challenge the sufficiency of the eviden&lt;span&gt;&lt;/span&gt;ce on &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;the ground Kondratishin now argues on appeal. &lt;/div&gt;
&lt;/div&gt;
&lt;a href="#pf7" data-dest-detail='[7,"XYZ",69,115,null]'&gt;&lt;div style="border-style:none;position:absolute;left:261.561111px;bottom:668.022222px;width:10.080000px;height:32.860000px;background-color:rgba(255,255,255,0.000001);"&gt;&lt;/div&gt;&lt;/a&gt;
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&lt;/div&gt;
&lt;div id="pf8" data-page-no="8"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;7 &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;2.&lt;span&gt; &lt;span&gt;Standard of Review and Applicable Law &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 13&lt;span&gt; &lt;/span&gt;&lt;span&gt;It is often said that we review de novo a challenge to the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;sufficiency of the evidence to support a conviction.  &lt;span&gt;E.g.&lt;/span&gt;&lt;span&gt;,&lt;/span&gt;&lt;span&gt; McCoy v. &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;People&lt;span&gt;, 2019 CO 44, Â¶ &lt;span&gt;19.  But that doesnât mean we sit as a &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;thirteenth juror, disregarding the fact of a guilty verdict deli&lt;span&gt;&lt;/span&gt;vered by &lt;/div&gt;
&lt;div&gt;a jury of twelve.  &lt;span&gt;Thomas v. People&lt;/span&gt;, 2021 CO 84, Â¶ 10.&lt;span&gt;  &lt;/span&gt;Rather, it &lt;/div&gt;
&lt;div&gt;means that we review the record de novo to determine wheth&lt;span&gt;&lt;/span&gt;er the &lt;/div&gt;
&lt;div&gt;evidence presented is sufficient in both quantity and quality to &lt;/div&gt;
&lt;div&gt;support a conclusion by reasonable jurors that the defendant&lt;span&gt;&lt;/span&gt; is &lt;/div&gt;
&lt;div&gt;guilty of the charge beyond a reasonable doubt.  &lt;span&gt;Id.&lt;/span&gt;&lt;span&gt;  &lt;/span&gt;And we do so &lt;/div&gt;
&lt;div&gt;by applying &lt;span&gt;principles that ascribe weight to the jurorsâ &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;determination: (1) we donât second guess any finding&lt;span&gt;&lt;/span&gt;s supported by &lt;/div&gt;
&lt;div&gt;the evidence; (2) we view the evidence in the light most favora&lt;span&gt;&lt;/span&gt;ble to &lt;/div&gt;
&lt;div&gt;the verdict; and (3) we give the prosecution the benefit &lt;span&gt;&lt;/span&gt;of every &lt;/div&gt;
&lt;div&gt;reasonable and relevant inference that may fairly be drawn from t&lt;span&gt;&lt;/span&gt;he &lt;/div&gt;
&lt;div&gt;evidence.  &lt;span&gt;Id.&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 14&lt;span&gt; &lt;span&gt;Kondratishinâs challenge to the &lt;span&gt;sufficiency of the evidence is &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;an atypically specific one: he says that no independent evidenc&lt;span&gt;&lt;/span&gt;e &lt;/div&gt;
&lt;div&gt;establish&lt;span&gt;ed&lt;/span&gt;&lt;span&gt; the trustworthiness of his confession to Officer Duke &lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf9" data-page-no="9"&gt;
&lt;div&gt;
&lt;img alt="" src="https://icbg.s3.amazonaws.com/media/MM9/Zgu/MM9ZguMTW/pwsU7Hj38Z0aT83wGmUtrM/47S7PRRijEBs%3D?AWSAccessKeyId=ASIA5PHC3MTPQRQJUKL6&amp;amp;Expires=1728907413&amp;amp;Signature=nJkjnEhF21cCsU56UYcFRYVYm%2Fg%3D&amp;amp;x-amz-security-token=IQoJb3JpZ2luX2VjEHsaCXVzLWVhc3QtMSJHMEUCIQCti7uZT60aePaEk%2BA994fyLUXVZJjdkg5tbBSnkAOw%2FAIgP2woXG%2B1yhg1GZwQtHbLWVZV50zrRjIstSnRLMiEv8AqugUI1P%2F%2F%2F%2F%2F%2F%2F%2F%2F%2FARAAGgw5MjYwNDEyMDM5MzUiDHkrQ2aaT9MCtEA22yqOBe6z723W9YsCUo7ZOPKnJ95eBDOoUMmQxkU4vskpu%2F65Fh14Hj4sOyBb79p8qJHYggfwBe7yhevtXLopYJK7jKUbcMdvfdGsJ9owchYLOEqDrzgBpWqvb%2BggVVlsUh01XfpVVJ4FWjfA4p6nSZiPlJEAR%2FegFFl9eE7bGnJRJtpDy6Z6pnG216FvGiQZ8ksab1gn0djNTs%2Bl0GeesFoCfpPjWWmLxx6KWh%2FDccBmpbifdyw45%2B06VKuEp8RSqBMJz2sMnMaRy5PBwXGESkWFKn2%2FGXw%2FRGQw4Tl4ENDWR%2B8Q0XZ9WxkKzpxE%2FuyEe%2BShoIfrO5cD%2B%2FerqGw1TrkhVAzFdtKIx9s2ZJgDxvyF4d0c6oirYKVPQyVW6NUBCb%2BwNoJ20afkLuz9apb%2B1ISlPnbMCHn1sNs6LWoOz0LTt8Q2KVaNxD03CdSszAs%2BK%2BiLWuk8WMs0LnMlC4opYQSoS3VYyyxBpFOdOUUwFPQdb4Fwtu8SLFHr9M66o2mBiJF8%2FZ7IFphjvfKj%2F7e%2BehBQZ7MjlSZo1xn1%2F9ikNIlbi1rlK%2FzYvqjmu8MsKrIIZ8ZbcjTIht1VHpdOhrRLQDRY%2FlAK7qL7ohcBrTdmdbyGbBVp3n0qSQYltae36EiKh3NQ3BT66%2FzFeRDZT5UyWmyBkrigL2Bk1VqVHiVxkYUg28lIsNuvNT%2Fvy19h6LuFhPY7C0qk%2BwoRBEi0ws4lzW3gMaTEOSVwjPenIuyCq%2B7GQgyDOAKZAjwfOrRpvto9PvlTwVFsznMHweG%2FmY%2FKf%2BFlH8CiPzy3Xetb8FcxSS5ifZIDt0wbo%2FeBMcUTtpegZnk6%2BXG83ZXl1mBObP%2BQp1ao8ujhkdUG%2BNQOoXfSp6aAZjDv57O4BjqxAVrIK9KnmaEN088nCtaidxOmNL%2BeN0fKTVEb1OQlhkMywEf%2FWkEmzqlRU1hPKVJRq6aOtet0ZfbpLHsYJp3SxlCadPaCl1%2B7%2B%2Bm3Ma8nL3vPBxGnaLYy0AbKLAM6qnMXni8QOZs3n4ZttLEnJiELM3Fj1TLxjygfB3MAD1XTcG4pFftsi0ucfXO8jA%2FUTtZtJZnKSOSZBhELxPyxfvcnNR8FM4vpPwmUywEHuyuZg4tj%2Fg%3D%3D"&gt;&lt;div&gt;
&lt;div&gt;8 &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;that he drank five beers &lt;span&gt;before&lt;/span&gt; he drove his car from one parking &lt;/div&gt;
&lt;div&gt;spot to the other.&lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;2&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt;  &lt;span&gt;He argues that we must reverse his conviction &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;because such evidence is required &lt;span&gt;by the Colorado Supreme Co&lt;span&gt;&lt;/span&gt;urtâs &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;decision in &lt;span&gt;People v. LaRosa&lt;/span&gt;, 2013 CO 2; independent evidence is &lt;/div&gt;
&lt;div&gt;lacking in this case; and his confession is the only evidence &lt;/div&gt;
&lt;div&gt;supporting the element of the offense that he drove while impai&lt;span&gt;&lt;/span&gt;red, &lt;/div&gt;
&lt;div&gt;see&lt;span&gt; Â§ 42-4-1303(1)(b). &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 15&lt;span&gt; &lt;/span&gt;&lt;span&gt;I&lt;span&gt;n &lt;span&gt;LaRosa&lt;/span&gt;&lt;span&gt;, the court adopted the so-&lt;span&gt;called âtrustworthiness &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;standard,â under which the prosecution must present&lt;span&gt;&lt;/span&gt; evidence &lt;/div&gt;
&lt;div&gt;corroborating the trustworthiness or reliability of the defen&lt;span&gt;&lt;/span&gt;dantâs &lt;/div&gt;
&lt;div&gt;confession when that confession is the only evidence of &lt;span&gt;&lt;/span&gt;a crime&lt;span&gt;.  &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;LaRosa&lt;span&gt;, Â¶Â¶ 21, 35, 38, 40.  Such corroboration may &lt;span&gt;&lt;/span&gt;come from &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;evidence of facts corroborating facts in the confession,&lt;span&gt;&lt;/span&gt; facts &lt;/div&gt;
&lt;div&gt;establishing the crime that corroborate facts in the confession, o&lt;span&gt;&lt;/span&gt;r &lt;/div&gt;
&lt;div&gt;facts concerning the circumstances of the confession&lt;span&gt;&lt;/span&gt; that show that &lt;/div&gt;
&lt;div&gt;the confession is trustworthy or reliable.  &lt;span&gt;Id.&lt;/span&gt; at Â¶ &lt;span&gt;41.  Indeed, &lt;span&gt;&lt;/span&gt;âthe &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;corroborating facts may be of &lt;span&gt;any sort whatever&lt;/span&gt;, provided only that &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;2&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt; To the extent Kondratishin contends that his statement to Officer &lt;/div&gt;
&lt;div&gt;Burke canât be understood as such a confession, we reject that&lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;contention. &lt;/div&gt;
&lt;/div&gt;
&lt;a href="#pf9" data-dest-detail='[9,"XYZ",69,132,null]'&gt;&lt;div style="border-style:none;position:absolute;left:239.736667px;bottom:835.986111px;width:10.080000px;height:32.870000px;background-color:rgba(255,255,255,0.000001);"&gt;&lt;/div&gt;&lt;/a&gt;
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&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pfa" data-page-no="a"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;9 &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;they tend to produce a confidence in the &lt;span&gt;truth of the confessi&lt;span&gt;&lt;/span&gt;on.â  &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Id.&lt;span&gt; at Â¶ &lt;span&gt;40 &lt;/span&gt;(alteration omitted) (quoting 7 &lt;span&gt;Wigmore on Evidence&lt;/span&gt; &lt;span&gt;Â§ &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;2071, at 511 (Chadbourn rev. 1978)). &lt;/div&gt;
&lt;div&gt;3.&lt;span&gt; &lt;span&gt;Analysis &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 16&lt;span&gt; &lt;/span&gt;&lt;span&gt;Several evidentiary facts, including the following, corroborate &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;the trustworthiness of Kondratishinâs confession&lt;span&gt; when viewed in t&lt;span&gt;&lt;/span&gt;he &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;light most favorable to the verdict: &lt;/div&gt;
&lt;div&gt;â¢&lt;span&gt; &lt;span&gt;Kondratishin showed signs of intoxication when Officer &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Duke contacted him. &lt;/div&gt;
&lt;div&gt;â¢&lt;span&gt; &lt;span&gt;Officer Duke found a six-pack container on the floor of the &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;car with four empty bottles.  Another empty bottle was &lt;/div&gt;
&lt;div&gt;tucked between the console and the passenger seat. &lt;/div&gt;
&lt;div&gt;â¢&lt;span&gt; &lt;span&gt;Kondratishin admitted he drank five beers.  (He doesnât &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;challenge this aspect of his statement to Officer Duke.) &lt;/div&gt;
&lt;div&gt;â¢&lt;span&gt; &lt;span&gt;Witnesses saw Kondratishin drive the car not long before &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;the officers arrived. &lt;/div&gt;
&lt;div&gt;Â¶ 17&lt;span&gt; &lt;span&gt;These facts fit Kondratishinâs confession that he drank five &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;be&lt;span&gt;ers before he reparked the car.  Contrary to his &lt;span&gt;&lt;/span&gt;suggestion, the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;facts need not definitively support a confession to render that &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pfb" data-page-no="b"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;10 &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;confession sufficiently reliable; it is enough that they tend to &lt;/div&gt;
&lt;div&gt;produce confidence in the reliability of the confession.  &lt;span&gt;See i&lt;span&gt;d.&lt;/span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 18&lt;span&gt; &lt;/span&gt;&lt;span&gt;We therefore conclude that the evidence is sufficient to &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;support the juryâs verdict.  &lt;span&gt;Cf. State v. Harris&lt;span&gt;, 575 A.2d 22&lt;span&gt;&lt;/span&gt;3, 227 &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;(Conn. 1990) (evidence that the defendant was alongside his &lt;/div&gt;
&lt;div&gt;overturned car, alone on a deserted road, in the early&lt;span&gt;&lt;/span&gt; hours, with &lt;/div&gt;
&lt;div&gt;fresh injuries, and smelling of intoxicating liquor sufficiently &lt;/div&gt;
&lt;div&gt;supported the defendantâs confession that he had been drinking &lt;/div&gt;
&lt;div&gt;and had driven the car); &lt;span&gt;State v. Ruiz&lt;/span&gt;, No. A-1-&lt;span&gt;CA&lt;/span&gt;-40201, 2023 &lt;span&gt;WL&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;7131326, at *1-2 (N.M. Ct. App. Oct. 30, 2023) (unpublished &lt;/div&gt;
&lt;div&gt;memorandum opinion) (evidence that the defendant was within&lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;armâs reach of his truck when contacted by police in front &lt;span&gt;&lt;/span&gt;of his &lt;/div&gt;
&lt;div&gt;house, the defendant showed signs of intoxication, the &lt;span&gt;truckâs &lt;/span&gt;ho&lt;span&gt;&lt;/span&gt;od &lt;/div&gt;
&lt;div&gt;was warm to the touch, a half-&lt;span&gt;empty beer bottle was in the t&lt;span&gt;&lt;/span&gt;ruckâs &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;center console, a&lt;span&gt;nd the defendantâs mother believed he had be&lt;span&gt;&lt;/span&gt;en &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;drinking while driving supported the trustworthiness &lt;span&gt;&lt;/span&gt;of the &lt;/div&gt;
&lt;div&gt;defendantâs statement to the officer that he had been drinking&lt;span&gt;&lt;/span&gt; beer &lt;/div&gt;
&lt;div&gt;while driving); &lt;span&gt;State v. Owelicio&lt;/span&gt;, 263 P.3d 305, 311-12 (N.M. Ct.&lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;App. 2011) (evidence that the defendant was in the car, she and &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pfc" data-page-no="c"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;11 &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;another person were the only people near the car, and &lt;span&gt;&lt;/span&gt;the other &lt;/div&gt;
&lt;div&gt;person strongly denied driving the car supported the &lt;/div&gt;
&lt;div&gt;trustworthiness of the defendantâs statement that she drove t&lt;span&gt;&lt;/span&gt;he car &lt;/div&gt;
&lt;div&gt;after drinking); &lt;span&gt;Commonwealth v. Rodriguez&lt;/span&gt;&lt;span&gt;, &lt;/span&gt;No. 50 MDA 2023&lt;span&gt;, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;2024 WL 797396, at &lt;span&gt;*1&lt;/span&gt;-3 (Pa. Super. Ct. Feb. 27, 2024) &lt;/div&gt;
&lt;div&gt;(unpublished opinion) (evidence that an officer saw the defen&lt;span&gt;&lt;/span&gt;dant &lt;/div&gt;
&lt;div&gt;visibly intoxicated, with injuries, in the middle of the night&lt;span&gt;&lt;/span&gt;, next to &lt;/div&gt;
&lt;div&gt;a car that had crashed into a wall and pole sufficiently corro&lt;span&gt;&lt;/span&gt;borated &lt;/div&gt;
&lt;div&gt;the &lt;span&gt;defendantâs statements to an officer that he had âcrashe&lt;span&gt;&lt;/span&gt;dâ and &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;had been drinking). &lt;/div&gt;
&lt;div&gt;B.&lt;span&gt; &lt;span&gt;Judicial Bias &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 19&lt;span&gt; &lt;/span&gt;&lt;span&gt;Kondratishin next contends that the district court judge &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;deprived him of his due process right to a fair and impartial judge &lt;/div&gt;
&lt;div&gt;by telling the prosecution how it could present evidence p&lt;span&gt;&lt;/span&gt;roving his &lt;/div&gt;
&lt;div&gt;prior convictions.  We disagree. &lt;/div&gt;
&lt;div&gt;1.&lt;span&gt; &lt;span&gt;Additional Background &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 20&lt;span&gt; &lt;/span&gt;&lt;span&gt;After the court ruled that prior convictions were an element of &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;the charged offense, the court and counsel discussed how ce&lt;span&gt;&lt;/span&gt;rtified &lt;/div&gt;
&lt;div&gt;Department of Motor Vehicles (DMV) records showing those p&lt;span&gt;&lt;/span&gt;rior &lt;/div&gt;
&lt;div&gt;convictions could be admitted into evidence.  In short, &lt;span&gt;&lt;/span&gt;the court &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pfd" data-page-no="d"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;12 &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;said that it would âconditionally admit the documents su&lt;span&gt;&lt;/span&gt;bject to &lt;/div&gt;
&lt;div&gt;being tied up later.â&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 21&lt;span&gt; &lt;/span&gt;&lt;span&gt;During the trial, Officer Duke testified that Kondratishin &lt;span&gt;&lt;/span&gt;had &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;told him he had four prior alcohol-related driving offenses.  She als&lt;span&gt;&lt;/span&gt;o &lt;/div&gt;
&lt;div&gt;testified as to various types of information identifying Kond&lt;span&gt;&lt;/span&gt;ratishin &lt;/div&gt;
&lt;div&gt;that she learned during the booking process.  The prosecutor then &lt;/div&gt;
&lt;div&gt;asked for a bench conference to discuss admitting the DMV records. &lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;After the court took a recess and reviewed the records, it &lt;span&gt;&lt;/span&gt;noted that &lt;/div&gt;
&lt;div&gt;while the records showed a date of birth, Kondratishinâs date &lt;span&gt;&lt;/span&gt;of &lt;/div&gt;
&lt;div&gt;birth hadnât been independently establi&lt;span&gt;shed.  The court sai&lt;span&gt;&lt;/span&gt;d the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;records wouldnât be admitted âuntil we tie that &lt;span&gt;&lt;/span&gt;up.â&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 22&lt;span&gt; &lt;/span&gt;&lt;span&gt;Officer Duke testified regarding &lt;span&gt;Kondratishinâs date of birth&lt;/span&gt;&lt;span&gt;, &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;which she had learned during the booking process.  The prosecutor &lt;/div&gt;
&lt;div&gt;then moved to admit the DMV records into evidence. &lt;span&gt;&lt;/span&gt; Defense &lt;/div&gt;
&lt;div&gt;counsel said she didnât have any objection.  &lt;span&gt;(Indeed, all of this &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;occurred without any objection by defense counsel.)&lt;span&gt;  &lt;/span&gt;The court &lt;/div&gt;
&lt;div&gt;admitted the records, and it instructed the jury on the limited &lt;/div&gt;
&lt;div&gt;purpose for which the records could be considered. &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pfe" data-page-no="e"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;13 &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;2.&lt;span&gt; &lt;span&gt;Standard of Review &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 23&lt;span&gt; &lt;span&gt;We will assume that we review Kondratishinâs contention t&lt;span&gt;&lt;/span&gt;hat &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;the judge exhibited bias against him de novo.  &lt;span&gt;See In re Estat&lt;span&gt;&lt;/span&gt;e of &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Elliott&lt;span&gt;, 993 P.2d 474, 481 (Colo. 2000).  The parties &lt;span&gt;&lt;/span&gt;disagree on the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;test for determining whether any error requires reversal: t&lt;span&gt;&lt;/span&gt;he People, &lt;/div&gt;
&lt;div&gt;characterizing the issue as an evidentiary one, argue for plain &lt;span&gt;&lt;/span&gt;error; &lt;/div&gt;
&lt;div&gt;Kondratishin, maintaining that the issue is one of actual bias, &lt;/div&gt;
&lt;div&gt;argues for structural error.  We donât need to resolve t&lt;span&gt;&lt;/span&gt;hat dispute&lt;span&gt;, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;however, given our determination that th&lt;span&gt;e court didnât demonstrate &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;actual bias against Kondratishin. &lt;/div&gt;
&lt;div&gt;3.&lt;span&gt; &lt;span&gt;Analysis &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 24&lt;span&gt; &lt;/span&gt;&lt;span&gt;Relying primarily on &lt;span&gt;People v. Martinez&lt;/span&gt;, 523 P.2d 120 (Colo. &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;1974), Kondratishin argues that the judge âassumed the rol&lt;span&gt;&lt;/span&gt;e of an &lt;/div&gt;
&lt;div&gt;advocateâ by explaining how the DMV records could be admit&lt;span&gt;&lt;/span&gt;ted &lt;/div&gt;
&lt;div&gt;into evidence.  But this case isnât anything like &lt;span&gt;Martinez&lt;/span&gt;&lt;span&gt;.  &lt;span&gt;&lt;/span&gt;In that &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;case&lt;span&gt;, during a pretrial suppression motion hearing,&lt;span&gt;&lt;/span&gt; the judge &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;moved sua sponte for the admission of certain evidence, calle&lt;span&gt;&lt;/span&gt;d &lt;/div&gt;
&lt;div&gt;witnesses for the prosecution, examined the witnesses, and c&lt;span&gt;&lt;/span&gt;ross-&lt;/div&gt;
&lt;div&gt;examined defense witnesses.  &lt;span&gt;Id.&lt;/span&gt; at 120-21.  The supreme co&lt;span&gt;&lt;/span&gt;urt &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pff" data-page-no="f"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;14 &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;held that the judge had improperly taken on the role of the &lt;span&gt;&lt;/span&gt;district &lt;/div&gt;
&lt;div&gt;attorney, who had failed to appear.  &lt;span&gt;Id.&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 25&lt;span&gt; &lt;/span&gt;&lt;span&gt;In this case, by contrast, the court merely exercised its &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;discretionary authority over the presentation of evidence, explaining&lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;to counsel for both sides how certain evidence could &lt;span&gt;&lt;/span&gt;be admitted.  &lt;/div&gt;
&lt;div&gt;Cf. People v. Adler&lt;span&gt;, 629 P.2d 569, 573-74 (Colo. 1981) (though the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;judgeâs indication that the prosecution hadnât yet presented &lt;/div&gt;
&lt;div&gt;sufficient evidence of value in &lt;span&gt;a &lt;/span&gt;theft prosecution may have been &lt;/div&gt;
&lt;div&gt;âill&lt;span&gt;-&lt;/span&gt;&lt;span&gt;advised,â the judge didnât breach the standard of &lt;span&gt;&lt;/span&gt;impartiality); &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;People v. Acosta&lt;span&gt;, 2014 COA 82, Â¶Â¶ &lt;span&gt;92&lt;span&gt;-&lt;/span&gt;&lt;/span&gt;&lt;span&gt;99 (judgeâs stat&lt;/span&gt;ements and &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;evidentiary rulings suggesting how the prosecutor might secure &lt;/div&gt;
&lt;div&gt;admission of certain testimony didnât violate the judgeâs duty &lt;span&gt;&lt;/span&gt;of &lt;/div&gt;
&lt;div&gt;impartiality).  Therefore, there was no violation of Kondrat&lt;span&gt;&lt;/span&gt;ishinâs &lt;/div&gt;
&lt;div&gt;right to an impartial judge. &lt;/div&gt;
&lt;div&gt;C.&lt;span&gt; &lt;span&gt;Evidentiary Challenges &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 26&lt;span&gt; &lt;/span&gt;&lt;span&gt;Kondratishin contends that the court erred by allowing Of&lt;span&gt;&lt;/span&gt;ficer &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Du&lt;span&gt;ke to testify as an expert, repeat hearsay, and give irrelevant &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;testimony&lt;span&gt;.  We donât see any reversible error.&lt;span&gt; &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf10" data-page-no="10"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;15 &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;1.&lt;span&gt; &lt;span&gt;Standard of Review &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 27&lt;span&gt; &lt;span&gt;All of Kondratishinâs arguments challenge the courtâs f&lt;span&gt;&lt;/span&gt;ailure to &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;act on evidence proffered by the prosecution.  These &lt;span&gt;&lt;/span&gt;challenges &lt;/div&gt;
&lt;div&gt;implicate the courtâs discretion to admit evidence&lt;span&gt;, and we review &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;them for an abuse of that discretion.  &lt;span&gt;Venalonzo v. People&lt;/span&gt;, 2017 CO &lt;/div&gt;
&lt;div&gt;9, Â¶ 15 (whether the court erred by admitting testimony as lay&lt;span&gt;, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;rather than expert, testimony); &lt;span&gt;People v. Heredia-Cobos&lt;/span&gt;, 2017 COA &lt;/div&gt;
&lt;div&gt;130, Â¶ 6.  A court abuses its discretion in this context wh&lt;span&gt;&lt;/span&gt;en its &lt;/div&gt;
&lt;div&gt;ruling is manifestly arbitrary, unreasonable, or unfair or base&lt;span&gt;&lt;/span&gt;d on a &lt;/div&gt;
&lt;div&gt;misunderstanding or misapplication of the law.  &lt;span&gt;Heredia-&lt;span&gt;Cobos&lt;/span&gt;&lt;/span&gt;, Â¶ &lt;span&gt;6.&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 28&lt;span&gt; &lt;span&gt;Because defense counsel didnât object to any of the evidence at &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;issue, we determine whether any error requires reversal und&lt;span&gt;&lt;/span&gt;er the &lt;/div&gt;
&lt;div&gt;plain error test.  &lt;span&gt;Hagos v. People&lt;/span&gt;, 2012 CO 63, Â¶ 14; &lt;span&gt;People v. Mi&lt;span&gt;&lt;/span&gt;ller&lt;span&gt;, &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;2024 COA 66, Â¶ 41.  Plain error is error that is obvious an&lt;span&gt;&lt;/span&gt;d that so &lt;/div&gt;
&lt;div&gt;undermined the fundamental fairness of the trial as to &lt;span&gt;&lt;/span&gt;cast serious &lt;/div&gt;
&lt;div&gt;doubt on the reliability of the judgment of conviction.  &lt;span&gt;Ha&lt;span&gt;&lt;/span&gt;gos&lt;span&gt;, Â¶ &lt;span&gt;14.&lt;/span&gt; &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;2.&lt;span&gt; &lt;span&gt;Analysis &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 29&lt;span&gt; &lt;/span&gt;&lt;span&gt;Kondratishin argues that, &lt;span&gt;even though Officer Duke hadnât &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;been offered as an expert witness at trial, and the prosecution &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf11" data-page-no="11"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;16 &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;hadnât disclosed her as such&lt;span&gt; before trial, she gave the following &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;expert testimony: &lt;/div&gt;
&lt;div&gt;â¢&lt;span&gt; &lt;span&gt;Because Kondratishin got out of his car when she got&lt;span&gt;&lt;/span&gt; out of &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;hers, she deduced, based on her experience, that âheâs &lt;/div&gt;
&lt;div&gt;trying to hide something.â&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;â¢&lt;span&gt; &lt;span&gt;By leaning against his car for balance when he got out of it&lt;span&gt;&lt;/span&gt;, &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Kondratishin behaved abnormally, in her experience. &lt;/div&gt;
&lt;div&gt;â¢&lt;span&gt; &lt;span&gt;She arrested Kondratishin, which, given earlier testimony &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;that she doesnât always arrest persons she initially believes &lt;/div&gt;
&lt;div&gt;may have been drinking and driving, implied, according &lt;span&gt;&lt;/span&gt;to &lt;/div&gt;
&lt;div&gt;Kondratishin, that he had been driving under the influence.  &lt;/div&gt;
&lt;div&gt;(Kondratishin also argues that this testimony was irrelevant &lt;/div&gt;
&lt;div&gt;âscreeningâ testimony.)&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;â¢&lt;span&gt; &lt;span&gt;Kondratishin has a âstate ID numberâ created as a result of &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;a prior criminal conviction, and she determined that &lt;/div&gt;
&lt;div&gt;Kondratishin had four prior convictions based on the &lt;/div&gt;
&lt;div&gt;criminal history records.&lt;span&gt;  &lt;/span&gt;(Kondratishin also argues that &lt;/div&gt;
&lt;div&gt;this testimony was hearsay and, as to the four prior &lt;/div&gt;
&lt;div&gt;convictions, âa legal conclusion on an ultimate issue.â)&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf12" data-page-no="12"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;17 &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 30&lt;span&gt; &lt;span&gt;Officer Dukeâs testimony that leaning against the car indicated &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;possible intoxication and that she determined Kondratishin &lt;span&gt;&lt;/span&gt;had &lt;/div&gt;
&lt;div&gt;driv&lt;span&gt;en&lt;/span&gt;&lt;span&gt; &lt;span&gt;while intoxicated didnât constitute expert testimony.&lt;span&gt;&lt;/span&gt;  At &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;bottom, this testimony was premised on observations from which &lt;/div&gt;
&lt;div&gt;any ordinary person could have reached the same conclusi&lt;span&gt;&lt;/span&gt;on based &lt;/div&gt;
&lt;div&gt;on such a personâs experience and knowledge.  &lt;span&gt;See People v. &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Kubuu&lt;span&gt;gu&lt;/span&gt;&lt;span&gt;, 2019 CO 9, Â¶Â¶ 11, 13; &lt;span&gt;People v. Russell&lt;/span&gt;, 2014 CO&lt;span&gt;&lt;/span&gt;A 21M, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶Â¶&lt;span&gt; &lt;span&gt;21&lt;/span&gt;-26 (police officer could testify as a lay witness that&lt;span&gt;&lt;/span&gt; the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;defendant appeared to be under the influence of &lt;/div&gt;
&lt;div&gt;methamphetamine), &lt;span&gt;affâd&lt;/span&gt;, 2017 CO 3.&lt;span&gt;  &lt;/span&gt;Likewise, her testimony &lt;/div&gt;
&lt;div&gt;about the ID numbers and prior convictions wasnât e&lt;span&gt;&lt;/span&gt;xpert &lt;/div&gt;
&lt;div&gt;testimony because it was based only on what the documents plainly &lt;/div&gt;
&lt;div&gt;said. &lt;/div&gt;
&lt;div&gt;Â¶ 31&lt;span&gt; &lt;span&gt;The officerâs testimony that she though&lt;span&gt;t Kondratishin might be &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;hiding something because he got out of his car is, perhaps, an&lt;span&gt;&lt;/span&gt;other &lt;/div&gt;
&lt;div&gt;story.  But any error in allowing that testimony isnât plain be&lt;span&gt;&lt;/span&gt;cause &lt;/div&gt;
&lt;div&gt;it isnât obvious that the testimony was expert testimony&lt;span&gt;, and we &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;arenât persuaded that any error casts serious doubt on the &lt;/div&gt;
&lt;div&gt;reliability of the judgment of conviction.  Had Office&lt;span&gt;&lt;/span&gt;r Duke been &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf13" data-page-no="13"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;18 &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;tendered as an expert, the court wouldnât&lt;span&gt; have abused its discreti&lt;span&gt;&lt;/span&gt;on &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;by qualifying her as such.  Defense counsel was able to cross-&lt;/div&gt;
&lt;div&gt;examine the officer on the point, and Kondratishin doesnât as&lt;span&gt;&lt;/span&gt;sert &lt;/div&gt;
&lt;div&gt;what his counsel would have done differently had the co&lt;span&gt;&lt;/span&gt;urt &lt;/div&gt;
&lt;div&gt;qualified the officer as an expert.  There was other substantial &lt;/div&gt;
&lt;div&gt;evidence of Kondratishinâs impairment.  And Kondratishinâs d&lt;span&gt;&lt;/span&gt;efense &lt;/div&gt;
&lt;div&gt;wasnât that he hadnât been drinking but that he hadnât been &lt;/div&gt;
&lt;div&gt;drinking before he drove. &lt;/div&gt;
&lt;div&gt;Â¶ 32&lt;span&gt; &lt;/span&gt;&lt;span&gt;For similar reasons, we conclude that allowing Officer Du&lt;span&gt;&lt;/span&gt;ke to &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;testify about Kondratishinâs state ID number &lt;span&gt;and prior convicti&lt;span&gt;&lt;/span&gt;ons, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;even if hearsay or an improper opinion as to his guilt of the &lt;span&gt;&lt;/span&gt;prior &lt;/div&gt;
&lt;div&gt;offenses, &lt;span&gt;wasnât plain error.  That testimony was only offere&lt;span&gt;&lt;/span&gt;d as &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;part of the prosecutionâs effort to tie Kondratishin to t&lt;span&gt;&lt;/span&gt;he DMV &lt;/div&gt;
&lt;div&gt;records.  Substantial other evidence tied him to those records, &lt;/div&gt;
&lt;div&gt;which were properly admitted, &lt;span&gt;and he doesnât contend othe&lt;span&gt;&lt;/span&gt;rwise.  &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;See People v. Stone&lt;span&gt;, 2021 COA 104, Â¶ 30 (&lt;/span&gt;cert. granted&lt;span&gt; Oct. 17, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;2022); &lt;span&gt;People v. Dominguez&lt;/span&gt;, 2019 COA 78, Â¶Â¶ 42-&lt;span&gt;51.&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 33&lt;span&gt; &lt;span&gt;Lastly, it is questionable whether Officer Dukeâs testimony &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;that she arrested Kondratishin was a commentary on &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf14" data-page-no="14"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;19 &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Kondratishinâs guilt, even considered in light of her earlier &lt;/div&gt;
&lt;div&gt;testimony that she doesnât always arrest drivers she initially &lt;/div&gt;
&lt;div&gt;suspects of drinking and driving.  Therefore, any error in allowing &lt;/div&gt;
&lt;div&gt;that testimony arguably wasnât obvious.  But even if there was &lt;/div&gt;
&lt;div&gt;obvious error, it doesnât cast serious doubt on the reliability &lt;span&gt;&lt;/span&gt;of the &lt;/div&gt;
&lt;div&gt;judgment of conviction.  Whenever someone is charged wit&lt;span&gt;&lt;/span&gt;h a &lt;/div&gt;
&lt;div&gt;crime, a jury obviously knows that the state believes the person to &lt;/div&gt;
&lt;div&gt;be guilty.  And Kondratishin cites no case for the proposition that&lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;the fact of the charge &lt;span&gt;â&lt;/span&gt; or even of an arrest &lt;span&gt;â&lt;/span&gt; is unduly &lt;/div&gt;
&lt;div&gt;prejudicial.  Counsel thoroughly examined (and cross-examined) &lt;/div&gt;
&lt;div&gt;Officer Duke on the circumstances leading up to Kondratishin&lt;span&gt;&lt;/span&gt;âs &lt;/div&gt;
&lt;div&gt;arrest, and the court instructed the jury that the charge it&lt;span&gt;&lt;/span&gt;s&lt;span&gt;elf isnât &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;evidence that Kondratishin committed any crime.  We note, as well, &lt;/div&gt;
&lt;div&gt;that the jury didnât find Kondratishin guilty of driving under the &lt;/div&gt;
&lt;div&gt;influence, indicating that it carefully considered the evidence &lt;span&gt;&lt;/span&gt;of &lt;/div&gt;
&lt;div&gt;Kondratishinâs level of intoxication.&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;D.&lt;span&gt; &lt;span&gt;Cumulative Error &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 34&lt;span&gt; &lt;/span&gt;&lt;span&gt;We have identified three possible errors in the admission of &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;evidence.  We arenât persuaded that, considered cumulatively, &lt;span&gt;&lt;/span&gt;these &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf15" data-page-no="15"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;20 &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;errors deprived Kondratishin of his right to a fair trial.  &lt;span&gt;See Howa&lt;span&gt;&lt;/span&gt;rd-&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Walker v. People&lt;span&gt;, 2019 CO 69, Â¶ 24. &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;III.&lt;span&gt; &lt;span&gt;Disposition &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 35&lt;span&gt; &lt;/span&gt;&lt;span&gt;The judgment of conviction is affirmed. &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;JUDGE LIPINSKY and JUDGE SULLIVAN concur. &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;
